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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


  MOHAMMAD IBRAHIM BAZZI,

                      Plaintiff,

            v.                                          Civil Action No. 19-cv-00484 (RM)

  ANDREA M. GACKI, in her official
  capacity as Director of the U.S. Department
  of the Treasury, Office of Foreign Assets
  Control, and UNITED STATES
  DEPARTMENT OF THE TREASURY,
  OFFICE OF FOREIGN ASSETS
  CONTROL,

                      Defendants.


                                     JOINT STATUS REPORT

        The parties respectfully submit this Joint Status Report in response to the Court’s November

23, 2019 Minute Order. In that Order, the Court vacated the deadline for Defendants to provide an

appendix containing copies of portions of the administrative record and ordered the parties to file

this joint status report recommending proposed next steps. Additionally, the Court directed the

parties to address whether the Court should deny without prejudice the pending cross-motions for

summary judgment and the approximate date Defendants anticipate issuing a new evidentiary

memorandum.

        Defendants issued a new evidentiary memorandum re-designating Plaintiff on November

25, 2019, and are in the process of finalizing an unclassified administrative record to transmit to

Plaintiff. Defendants also will finalize a revised certification of contents of that record. Defendants

expect to transmit to Plaintiff that revised record and file that revised certification on or before

December 6, 2019.


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        The parties have conferred since this Court’s Minute Order. Defendants have informed

Plaintiff that while they do not expect the revised administrative record to materially alter the

parties’ legal arguments, filing revised summary judgment briefs may be appropriate to account for

corresponding changes, such as citations in the briefs to the administrative record. Defendants think

that the parties should be able to re-file summary judgment briefing quickly.

        The parties are in agreement that Plaintiff should have time to review the revised

administrative record before responding to Defendants’ position or proposing next steps in this

matter. In order to allow Plaintiff sufficient time for that review, the parties respectfully suggest that

they file another joint status report on or before December 12, 2019, regarding proposed next steps

and whether the pending motions for summary judgment should be denied without prejudice. The

parties will continue to confer in the meantime about efficiently presenting this matter for the

Court’s resolution.

Dated December 3, 2019                                  Respectfully submitted,


/s/ Erich C. Ferrari                                    JOSEPH H. HUNT
ERICH C. FERRARI                                        Assistant Attorney General
Ferrari & Associates, P.C.
1455 Pennsylvania Ave., NW                              DIANE KELLEHER
Suite 400                                               Assistant Branch Director
Washington, D.C. 20004
Telephone: (202) 280-6370                               /s/ Kevin Snell
Fax: (877) 448-4885                                     KEVIN SNELL
Email: ferrari@falawpc.com                              Trial Attorney
DC Bar No. 978253                                       United States Department of Justice
                                                        Civil Division, Federal Programs Branch
                                                        1100 L Street, N.W.
                                                        Washington, DC 20005
                                                        Tel: (202) 305-0924
                                                        Fax: (202) 616-8460
                                                        Email: Kevin.Snell@usdoj.gov




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